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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 LA’SHADION SHEMWELL,                         §
 in his official capacity as a city council   §
 member, and in his individual capacity as    §
 a voter in District 1, and FLORINE           §
 HENRY, and DEBRA FULLER,                     §
                                              §       Civil Action Complaint
               Plaintiffs,                    §
                                              §       Civil Action No. 4:20-cv-00687-SDJ
 v.                                           §
                                              §       JURY DEMAND
 CITY OF MCKINNEY, TEXAS,                     §
                                              §
               Defendant.                     §

            DEFENDANT’S MOTION TO DISMISS UNDER RULE 12(b)(6)
                         AND BRIEF IN SUPPORT

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October 5, 2020
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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 LA’SHADION SHEMWELL,                               §
 in his official capacity as a city council         §
 member, and in his individual capacity as          §
 a voter in District 1, and FLORINE                 §
 HENRY, and DEBRA FULLER,                           §
                                                    §     Civil Action Complaint
                Plaintiffs,                         §
                                                    §     Civil Action No. 4:20-cv-00687-SDJ
 v.                                                 §
                                                    §     JURY DEMAND
 CITY OF MCKINNEY, TEXAS,                           §
                                                    §
                Defendant.                          §


             DEFENDANT’S MOTION TO DISMISS UNDER RULE 12(b)(6)
                          AND BRIEF IN SUPPORT

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant City of McKinney, Texas (“Defendant” or “City”), pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, files this motion to dismiss Plaintiffs’ Original Complaint

(“Complaint”) for failure to state a claim upon which relief can be granted. In support thereof, the

City respectfully shows this Court the following:

                         I.     INTRODUCTION AND OVERVIEW

       This lawsuit is brought against the City by three individual Plaintiffs, (1) La’Shadion

Shemwell (“Shemwell”), the City of McKinney’s sole African-American City Councilman, who

was elected in 2017 to represent District 1, an alleged majority-minority district and one of four

districts in the City, and who is currently serving a four-year term set to expire in May 2021; (2)

Florine Henry (“Henry”), an African-American woman who is a registered voter and who resides

in District 1; and (3) Debra Fuller (“Fuller”), a Latina woman who is a registered voter and who



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resides in District 1. See Pls.’ Compl., pp. 4-5, ¶¶ 13, 14, 15. Plaintiffs allege that the City has

deprived them of their rights under the Fourteenth and Fifteenth Amendments to the United States

Constitution, 42 U.S.C. § 1983, and § 2 of the Voting Rights Act, 52 U.S.C. § 1973 (“Voting

Rights Act”). See id, pp. 15-16, ¶¶ 1, 61, 65-66. More specifically, Plaintiffs complain that the

City’s recall election process and related past charter amendments, as well as a citywide voting

scheme to recall Shemwell, a sitting City Councilmember elected from single-member District 1,

discriminate against Shemwell and Black and Latino voters by diluting the strength of their vote

and Shemwell’s ability to serve. See Pls.’ Compl., passim.

           In May 2019, a majority of the City’s qualified voters, pursuant to a duly called charter

amendment election, voted to amend Section 145, “Recall Petitions,”1 and Section 146, “Recall

Election,”2 of the City Charter of the City of McKinney, Texas (“City Charter” or “Charter”). See

Pls.’ Compl., ECF Doc. No. 1, pp. 15-16, ¶¶ 46-50. In December 2019, a group of McKinney

citizens submitted a petition to the City, seeking the recall and removal of Councilman Shemwell

(“recall petition”). See id., pp. 9-11, 13, ¶¶ 38, 40-41, 45, 51. The recall petition was certified by

McKinney City Secretary Empress Drane (“Drane”) on January 7, 2020,3 and on January 21, 2020,



1
  Proposition F changed the number of signatures required on recall petitions from 15 percent of registered voters
citywide (currently 103,000) to 30 percent of votes cast in the last regular city election (7,087 last May) and extended
the time to collect signatures from 30 to 45 days. See Section IV (4), infra.
2
    Proposition G clarified that all recall elections are citywide. See Section IV (4), infra.
3
   See Official Minutes of the Regular City Council Meeting, McKinney City Council, January 7, 2020.
https://storage.googleapis.com/vault01.swagit.com/mckinneytx/imported/mckinney_a0168c53-41e8-4e56-a0f2-
ce21b029d44d.pdf

See also https://mckinneytx.new.swagit.com/videos/59485 at 2:17:33 (certification begins at 2:18:38).

The City asks the Court to take judicial notice of official City of McKinney and State of Texas documents, which are
publicly available on the City’s and the State of Texas’s official web sites. The link to each such document identified
herein is provided with the document description. See Garrett v. Comcast Communications, Inc., 3:04-CV-0693-P,
2004 WL 2624679, at *2 (N.D. Tex. Nov. 17, 2004) (court may consider public records attached to motion to dismiss
without conversion to motion for summary judgment).


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the McKinney City Council (“City Council”) approved a recall election ordinance, which set a

special election date of May 2, 2020 for the City’s qualified voters to determine whether Shemwell

should be removed from or remain in office.4

        Although the election was originally scheduled for May 2, 2020, Texas Governor Greg

Abbott issued a proclamation on March 18, 2020, encouraging local governments to postpone all

May elections to November 2020 in light of the breaking COVID-19 pandemic.5 The City, like

most cities around the state, heeded that advice and rescheduled the special recall election for

November 3, 2020. See Pls.’ Compl., ECF Doc. No. 1, pp. 5, 16, ¶ 14, Prayer for Relief.

        Plaintiffs seek, among other things, declaratory and injunctive relief, and request that this

Court enjoin the City from conducting next month’s scheduled recall election. Id., p. 16, Prayer

for Relief.

                             II.      PROCEDURAL BACKGROUND

        This is the second of two lawsuits brought against the City this year in which Shemwell

has been the sole or lead party plaintiff. The first suit, Shemwell v. City of McKinney, Civil Action

No. 4:20-cv-00043-SDJ, filed in this Court on January 20, 2020, also sought injunctive and

declaratory relief, and complained of the same 2019 charter amendments, passed and approved by

the voters of the City of McKinney, which reduced the number of signatures required on recall

petitions and which clarified that recall elections for any Council member are citywide (“2019

charter amendments”). The recall election was originally scheduled for May 2, 2020; however, on




4
   See Official Minutes of the Regular City Council Meeting, McKinney City Council, January 21, 2020.
http://mckinney.legistar.com/View.ashx?M=M&ID=746012&GUID=20066055-9E5B-4EFF-903E-684396E2A689
5
 See Proclamation of Greg Abbott, Governor of the State of Texas, March 18, 2020 (“Governor’s Proclamation”).
https://gov.texas.gov/uploads/files/press/PROC_COVID-19_May_2_Election_Date_IMAGE_03-18-2020.pdf

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March 13, 2020, Shemwell filed an Amended Notice of Voluntary Dismissal of Claims against the

City, thereby bringing that litigation to a close.

        Six months later to the day, September 13, 2020, Plaintiffs initiated the instant litigation

against the City.

                                III.    GROUNDS FOR MOTION

        Plaintiffs have brought two federal claims against the City, one for the alleged violation of

their constitutional rights under 42 U.S.C. § 1983 and the other for the alleged violation of § 2 of

the Voting Rights Act. Plaintiffs, however, fail to state a claim upon which relief can be granted

under either cause of action; therefore, their Complaint must be dismissed.

        First, Plaintiffs have not sufficiently pled and cannot prove under § 1983 that the City

approved or adopted any municipal policy that directly caused injury to them or others. The City

Council was presented with a certified recall petition for Shemwell’s removal, which required,

under both state law and the City Charter, that the City submit the issue to the City’s voters to

decide whether removal was appropriate, or not. Similarly, the 2019 charter amendments that

preceded the submission of the recall petition, and that provided for both a fewer number of

signatures on such petitions and for all recall elections to be determined citywide, were the result

of a special election and a determination by the City’s voters, not the City. In short, there is no

causal connection between Plaintiffs’ alleged injuries and any action taken or official policy

implemented by the City

        Second, Plaintiffs’ Complaint also fails to state a claim for relief under § 2 of the Voting

Rights Act because the Act does not apply to recall elections. Three different circuit courts of

appeals – the Ninth Circuit, the Tenth Circuit, and the Eleventh Circuit – have ruled that § 2 of the

Act does not apply to voter-initiated petitions, and one federal district court in Texas, acting on a



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case with a similar fact situation, held that the plaintiffs’ claims failed because the issue in the

Fifth Circuit is, at best, unsettled. Accordingly, Plaintiffs’ claims against the City under the Voting

Rights Act also must be dismissed.

                  IV.     PLAINTIFFS’ ALLEGATIONS AS TO THE CITY

       Plaintiffs complain generally about the events and process surrounding local efforts to

recall Councilman Shemwell, and they attempt to assign fault to the City for complying with what

the law requires Texas municipalities to do when presented with citizen-initiated recall petitions.

Pls.’ Compl., ECF Doc. No. 1, passim. The City, however, does not step into the shoes of citizens

who are collecting signatures for the petition or who are accused of repugnant misconduct, or of

its individual “officials,” identified or unidentified, who are alleged to have taken a position on the

politics of the recall or to have some type of unsubstantiated bias against Shemwell. The focus

instead, certainly for purposes of a § 1983 analysis, must be on what the Complaint alleges the

City has done, by way of policy, practice, custom, or usage, that has directly violated the law and

was the moving force behind any injury to Plaintiffs.

       As to the City, Plaintiffs allege that:

       1.      The City amended its city charter in May 2019 pursuant to a ballot initiative
               regarding recall elections for elected officials. Both the previous charter and
               the new charter require a petition drive for signatures to be collected and
               then approval by the city council to place the recall on the ballot and
               subsequently to be voted on by residents of McKinney.

Pls.’ Compl., ECF Doc. No. 1, p. 10, ¶ 40.

       2.      The recall petition was initiated by voters in McKinney, …

Pls.’ Compl., ECF Doc. No. 1, p. 10, ¶ 41.

       3.      After having obtained the requisite number of signatures, the recall petition
               was submitted to the [City] for review. The City approved the signatures




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                 without verifying the authenticity of the signatures and forwarded the
                 measure to the City Council.6

Pls.’ Compl., ECF Doc. No. 1, p. 11, ¶ 45.

        4.       In May of 2019, the [City], pursuant to the recall petition (sic), formulated
                 the following amendment language and placed it on the ballot to be voted
                 on by the citizens of McKinney:

                 Proposition F: Shall Section 145 of the City Charter be amended to provide
                 for a reduction in the required petition signatures needed to initiate a recall
                 election?

                 Proposed language: “Sec. 145 - Recall petitions

                 The recall petition to be effective must be returned and filed with the City
                 Secretary within forty-five (45) days after the filing of the affidavit required
                 for initiative and referendum petitions, and it must be signed by qualified
                 voters residing in any district, irrespective of the seat subject of the recall
                 petition, of the City equal in number to at least thirty (30) percent of the
                 total number of votes cast at the last regular municipal election; provided,
                 however, that the petition shall contain the signatures of at least one
                 thousand (1,000) of the qualified voters of the City and shall conform to the
                 provisions of initiative and referendum petitions. No petition papers shall
                 be accepted as part of petition unless it bears the signature of the City
                 Secretary as required in initiative and referendum petitions.”

                 Proposition G: Shall Section 146 of the City Charter be amended to clarify
                 that recall elections are city wide?

                 Proposed language: “Sec. 146 – Recall election

                 The City Secretary shall at once examine the recall petition and, if the City
                 Secretary finds it sufficient and in compliance with the provisions of this
                 Chapter of the Charter, the City Secretary shall within five (5) days or at the
                 next regular City Council meeting, whichever is later, submit it to the City
                 Council with its office’s certificate to that effect and notify the officer
                 sought to be recalled of such action.

                 If the officer whose removal is sought does not resign within five (5)
                 days after such notice, the City Council shall thereupon order and fix a
                 date for holding a citywide recall election according to State law.[”]

Pls.’ Compl., ECF Doc. No. 1, pp. 11-12, ¶ 46 (emphasis in original (Complaint)).


6
 Plaintiffs do not complain that the recall petition was not certified by City Secretary Drane. See Pls.’ Compl., ECF
Doc. No. 1, passim.

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       5.     Under the amended charter, the petition would require signatures from at
              least 30% of the number of voters who cast ballots in the last regular
              municipal election. As more than 7,080 voters cast ballots in the May 2019
              election, the petition needed at least 2,125 signatures to be valid, a much
              lower requirement than under the previous charter.

Pls.’ Compl., ECF Doc. No. 1, pp. 12-13, ¶ 48.

       6.     The City further amended its charter by increasing the number of days
              petitioners would have to turn in a petition to the city secretary’s office. The
              new charter allows petitioners 45 days to turn in signatures while the
              previous charter gave residents only 30 days.

Pls.’ Compl., ECF Doc. No. 1, p. 13, ¶ 49.

       7.     [T]he charter was amended to clarify that the recall election would be held
              city-wide, instead of district-wide, despite that single-member districts like
              District 1 would have their votes diluted by the rest of the city that originally
              did not have any right to vote for Councilman Shemwell.

Pls.’ Compl., ECF Doc. No. 1, p. 13, ¶ 50.

       8.     The City’s at-large recall election scheme was adopted or is being
              maintained by the City for the purpose of diluting the strength of Black and
              Latino voters, including Plaintiffs, in violation of the Fourteenth and
              Fifteenth Amendments to the United States Constitution and Section 2 of
              the Voting Rights Act.

Pls.’ Compl., ECF Doc. No. 1, p. 15, ¶ 61.

       9.     The Charter Amendment was adopted, at least in large part, for the purpose
              of disadvantaging Black and Latino voters, who make a majority of the
              population in District 1 whereas white voters who overwhelmingly
              comprise the rest of the city.

Pls.’ Compl., ECF Doc. No. 1, p. 15, ¶ 62.

       10.    From the outset, [the City] intended to reduce the voting strength of Black
              and Latino voters in the recall election and prevent them from having a
              meaningful say in the recall of their candidate of choice.

Pls.’ Compl., ECF Doc. No. 1, p. 15, ¶ 63.

       11.    There is no legitimate, non-racial explanation or justification for the
              changes to the city charter that would allow the recall of Plaintiff Shemwell,
              the District 1 councilman, to be voted on by the entire city.

Pls.’ Compl., ECF Doc. No. 1, p. 15, ¶ 64.

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        12.     Chapter 18, Section 146 of the [City Charter] was enacted with a racially
                discriminatory purpose in violation of the Fourteenth and Fifteenth
                Amendments to the United States Constitution and Section 2 of the Voting
                Rights Act.

Pls.’ Compl., ECF Doc. No. 1, pp. 15-16, ¶ 65.

                                V.      STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(b)(6) authorizes a court to dismiss a plaintiff’s

complaint for “failure to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6).

In considering a Rule 12(b)(6) motion to dismiss, “[t]he court accepts all well-pleaded facts as

true, viewing them in the light most favorable to the plaintiff.” In re Katrina Canal Breaches Litig.,

495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby Constr. Co. v. Dallas Area Rapid

Transit, 369 F.3d 464, 467 (5th Cir. 2004)); however, the plaintiff, in turn, must plead “enough

facts to state a claim to relief that is plausible on its face.” Guidry v. American Public Life Ins. Co.,

512 F.3d 177, 180 (5th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

        Even under the liberal notice pleading standard of Fed.R.Civ.P. 8, “the complaint must

contain either direct allegations on every material point necessary to sustain a recovery . . . or

contain allegations from which an inference fairly may be drawn” under a relevant legal theory.

Campbell v. City of San Antonio, 43 F.3d 973, 975 (5th Cir. 1995) (quoting 3 Wright & Miller,

Federal Practice and Procedure: Civil 2d §1216 at 156-59). As a result, dismissal is proper if the

complaint “lacks an allegation regarding a required element necessary to obtain relief.” Id.

(quoting 2A Moore’s Federal Practice ¶12.07 [2.-5] at 12-91). Further, when reviewing a

complaint to determine whether it contains all the essential elements of a plaintiff's theory of

recovery, “[t]he court is not required to ‘conjure up unplead allegations or construe elaborately

arcane scripts’ to save [the] complaint.” Id. (quoting Gooley v. Mobil Oil Corp., 851 F.2d 513, 514

(1st Cir. 1988)); see also Kjellvander v. Citicorp, 156 F.R.D. 138, 141 (S.D. Tex. 1994).


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           Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed.R.Civ.P. 8(a)(2); Ashcroft

v. Iqbal, 556 U.S. 662, 677-78 (2009). This pleading standard “does not require ‘detailed factual

allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. at 678 (citing Twombly, 550 U.S. at 555). “A pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’” Id. Nor

is a complaint sufficient if it “tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (citing Twombly, 550 U.S. at 557). In other words, to survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to “state a claim to

relief that is plausible on its face.” Id. (citing Twombly, 550 U.S. at 570). As will be shown herein,

Plaintiffs’ Complaint should be dismissed because Plaintiffs have failed to plead a plausible claim

against the City under either 42 U.S.C. § 1983 or § 2 of the Voting Rights Act.

                                 VI.       ARGUMENT AND AUTHORITIES

A.         Plaintiffs’ cause of action under 42 U.S.C. § 1983 fails to state a claim for relief

           1.        Municipal Liability Under § 1983 – “Moving Force” Causation

           A municipality may be liable under 42 U.S.C. § 19837 where “the action that is alleged to

be unconstitutional implements or executes a policy statement, ordinance, regulation, or decision

officially adopted and promulgated by that body’s officers.” Hicks-Fields v. Harris Cty., 860 F.3d

803, 808 (5th Cir. 2017) (quoting Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978)); see

also Kitchen v. Dallas Cty., 759 F.3d 468, 476 (5th Cir. 2014). To establish that liability, “a


7
    42 U.S.C. § 1983 states in pertinent part:

       Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State…
       subjects, or causes to be subjected, any citizen of the United States or other person within the jurisdiction
       thereof to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall
       be liable to the party injured in an action at law, suit in equity, or other proper proceeding for redress.


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plaintiff must show that (1) an official policy (2) promulgated by the municipal policymaker (3)

was the moving force behind the violation of a constitutional right.” Hicks-Fields, 860 F.3d at 808

(citing Peterson v. City of Fort Worth, 588 F.3d 838, 847 (5th Cir. 2009) (citing Piotrowski v. City

of Houston, 237 F.3d 567, 578 (5th Cir. 2001)); see also Advanced Tech. Bldg. Sols. v. City of

Jackson, Miss., 817 F.3d 163, 165-66 (5th Cir. 2016) (municipal liability “attaches only where the

decisionmaker possesses final authority to establish municipal policy with respect to the action

ordered.”).

        A municipal policymaker is someone who possesses “the responsibility for making law or

setting policy in any given area of a local government’s business.” Valle v. City of Houston, 613

F.3d 536, 542 (5th Cir. 2010) (citing City of St. Louis v. Praprotnik, 482 U.S. 112, 125 (1988)).8

For a municipal action to constitute a moving force behind a constitutional injury, the complained

of action must be “taken with the requisite degree of culpability and must demonstrate a direct

causal link between the municipal action and the deprivation of federal rights.” Valle, 613 F.3d at

542 (quoting Bd. of Comm’rs of Bryan County v. Brown, 520 U.S. 397, 404 (1997)) (internal

quotation marks omitted); see also Doe v Edgewood Indep. Sch. Dist., 964 F.3d 351, 365 (5th Cir.

2020) (“Moving force” causation is more than “but for” causation.”); Peterson, 588 F.3d at 848

(“In other words, a plaintiff must show direct causation.”); Johnson v. Deep East Tex. Reg’l

Narcotics Trafficking Task Force, 379 F.3d 293, 310 (5th Cir. 2004) (quoting Fraire v. City of

Arlington, 957 F.2d 1268, 1281 (5th Cir. 1992)) (“[t]his connection must be more than a mere ‘but

for’ coupling between cause and effect”). To meet this heightened causation standard, a plaintiff




8
  For a general discussion of municipal policy and policymakers under § 1983 from Monell through City of St. Louis
v. Praprotnik, 485 U.S. 112 (1988), see Welch & Hofmeister, Praprotnik, Municipal Policy and Policymakers: The
Supreme Court's Constriction of Municipal Liability, 13 S. ILL. U.L.J. 857, 887 (1989).

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must adequately plead the required elements with a “high threshold of proof.” Piotrowski, 237

F.3d at 580 (citing Monell, 436 U.S. at 694).

           2.        Applicability of State Law Under § 1983

           Whether a government official or entity possesses final policymaking authority for

purposes of municipal liability under § 1983 is a matter of state and local law. Valle, 613 F.3d at

542 (citing Pembaur v. City of Cincinnati, 475 U.S. 469, 482 (1986)). Chapter 9, “Home-Rule

Municipality,” of the Texas Local Government Code addresses the process for the adoption or

amendment of a municipality’s home-rule charter. In Texas, the governing body of a municipality:

           on its own motion may submit a proposed charter amendment to the municipality’s
           qualified voters for their approval at an election. The governing body shall submit
           a proposed charter amendment to the voters for their approval at an election if the
           submission is supported by a petition signed by a number of qualified voters of the
           municipality equal to at least five percent of the number of qualified voters of the
           municipality or 20,000, whichever is the smaller.

Tex. Loc. Gov’t Code § 9.004(a) (emphasis added). A proposed home-rule charter amendment is

adopted if it is approved by a majority of the municipality’s qualified voters; it becomes effective

when the municipality’s governing body enters an order in the municipality’s records declaring

that the charter amendment is adopted. Tex. Loc. Gov’t Code § 9.005.

           3.        McKinney’s Home-Rule City Charter - Recall Petitions and Recall Elections

           At the local level, and in this instance, the McKinney City Charter9 sets out the process for

recall petitions and recall elections10 and provides that, upon receipt of a certified, citizen-initiated


9
    See https://library.municode.com/tx/mckinney/codes/code_of_ordinances?nodeId=PTICH
10
     Section 145, “Recall petitions,” of the City Charter provides:

       The recall petition to be effective must be returned and filed with the City Secretary within forty-five (45)
       days after the filing of the affidavit required for initiative and referendum petitions, and it must be signed
       by qualified voters residing in any district, irrespective of the seat subject of the recall petition, of the City
       equal in number to at least thirty (30) percent of the total number of votes cast at the last regular municipal
       election; provided, however, that the petition shall contain the signatures of at least one thousand (1,000)
       of the qualified voters of the City and shall conform to the provisions of initiative and referendum petitions.

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recall petition, and if the official subject to the recall effort has not resigned within five days’ notice

from the City Secretary, the City Council “shall thereupon order and fix a date for holding a

citywide recall election according to State law.” See City Charter, Section 146 (emphasis added).

         4.       Plaintiffs have failed to plead, and cannot plead, facts to show that
                  any action by the City was the moving force behind their alleged injuries

         The City cannot be liable to Plaintiffs under § 1983 because Plaintiffs have failed to plead,

and cannot plead or prove, any set of facts to establish that any action, decision, or policy of the

City, or any state actor, was the moving force that directly caused their alleged injuries.

         Texas courts have consistently held that charter language that requires a city council to call

an election following receipt and certification of a citizen-initiated recall petition establishes a

ministerial duty on the part of the city council to order a recall election. See, e.g., In re Woodfill,

470 S.W.3d 473, 479 (Tex. 2015) (court relied on home-rule charter language stating that upon

receipt of certified recall petition city council “shall submit it to popular vote at the next city

election”); McBride v. City of Jasper, 2011 WL 13249480, at *2 (E.D. Tex. Oct. 20, 2011) (court

relied on home-rule charter language stating that upon receipt of certified recall petition “it shall

become the duty of the city council to order an election and fix a date for holding such recall

election.”).




    No petition papers shall be accepted as part of petition unless it bears the signature of the City Secretary
    as required in initiative and referendum petitions.

Section 146, “Recall election,” of the City Charter provides:

    The City Secretary shall at once examine the recall petition and, if the City Secretary finds it sufficient
    and in compliance with the provisions of this Chapter of the Charter, the City Secretary shall within five
    (5) days or at the next regular City Council meeting, whichever is later, submit it to the City Council with
    its office's certificate to that effect and notify the officer sought to be recalled of such action.

    If the officer whose removal is sought does not resign within five (5) days after such notice, the City
    Council shall thereupon order and fix a date for holding a citywide recall election according to State law.


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       The McKinney City Charter provides that, upon receipt, the City Secretary must review

the petition to ensure sufficiency and compliance with the Charter and then certify it for submission

to the City Council. See City Charter, Sec. 146. If the officer subject to recall has not resigned

within five days, the City Council then must order and fix a date for holding a citywide recall

election according to State law. Id.; see also Tex. Loc. Gov’t Code § 9.004(a).

       That is precisely what has happened in this instance – City Secretary Drane reviewed and,

on January 7, 2020, certified the recall petition submitted to the City at a regular, publicly held

Council meeting. The Council then was required by state law and the City Charter, once Shemwell

declined to resign his seat on the Council, to order and schedule a date for holding the city recall

election, which it did. See McBride, 2011 WL 13249480, at *2; In re Woodfill, 470 S.W.3d at 479.

The date of the election was May 2, 2020, but due to the COVID-19 pandemic and as authorized

by the Governor’s Proclamation, the election has been rescheduled to November 3, 2020.

       Consistent with the Complaint, the recall petition process has never been a matter in which

the City voluntarily inserted itself or acted with even a modicum of discretion; the process has

always been and remains citizen-driven. And the result of the election – in which Shemwell may

or may not be removed from the Council – rests firmly in the hands of the voters and not the City

or the City Council. Therein lies the challenge for Plaintiffs to withstand a motion to dismiss on

their § 1983 claim.

       An independent, third-party action that supersedes or vitiates a governmental

decisionmaker’s action breaks the causal chain necessary to establish § 1983 liability because the

decisionmaker that took the initial action can no longer be the “final authority” or the “moving

force” behind any alleged constitutional deprivation. See, e.g., Hicks-Fields, 860 F.3d at 808;

Advanced Tech. Bldg. Sols., 817 F.3d at 165-66. For example, in § 1983 false arrest or malicious



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prosecution cases, courts consistently have held, except in very narrow circumstances, that the

submission of a warrant or indictment request to an independent intermediary, e.g., a magistrate

or grand jury, once approved, breaks the causal chain necessary to establish § 1983 liability. See,

e.g., Cuadra v. Houston Indep. Sch. Dist., 626 F.3d 808, 813 (5th Cir. 2010) (grand jury indictment

against plaintiff precluded liability for § 1983 false arrest claim); Hand v. Gary, 838 F.2d 1420,

1428 (5th Cir. 1988) (grand jury indictment against plaintiff precluded liability for § 1983

malicious prosecution claim).

        Here, the City Council is the policymaking body of the City of McKinney for purposes of

§ 1983; the actions taken by the Council, both as to the 2019 charter amendments and the scheduled

2020 recall election, were mandated by state law and the City Charter, and Plaintiffs’ Complaint

makes no allegation to the contrary. See Pls.’ Compl., ECF Doc. No. 1, passim. The voters will

decide the fate of Councilman Shemwell in an election in which Defendant City of McKinney will

cast no vote. Those same voters, not the City, will be the “moving force” and the final authority to

make that determination, thereby breaking any direct causal connection between the City’s actions

and Plaintiffs’ alleged injuries and absolving the City of liability under § 1983.

B.      Section 2 of the Voting Rights Act does not apply to recall election cases

        In a case with remarkable similarities to the instant matter, a federal district court in Texas

expressly rejected the argument that § 2 of the Voting Rights Act applies to the recall petition

process. In McBride, 2011 WL 13249480, at *8-10, a group of citizens initiated a recall election

for Council members who had voted for the appointment of a new police chief. The recall

procedures were provided by the city’s charter, which allowed the city’s qualified voters, on an at-

large basis, to subject a city council member representing a single-member district to a recall

election. Id. at *1.



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       Acknowledging that courts should interpret the Voting Rights Act “in a manner that

provides the broadest possible scope,” id. at *8 (citing Chisom v. Roemer, 501 U.S. 391, 403

(1991)), the court also cautioned that “for [§] 2 to apply, the challenged situation must constitute

a qualification, prerequisite, standard, practice or procedure within the meaning of [§] 2.” McBride,

2011 WL 13249480, at *8 (citing United States v. Brown, 561 F.3d 420, 432 (5th Cir. 2009)).

       The court stated that courts generally were reluctant to apply the Voting Rights Act to the

petition process, and identified three different circuit courts of appeals that have held the Act does

not apply to voter-initiated petitions. McBride, 2011 WL 13249480, at *8-10; Padilla v. Lever,

463 F.3d 1046, 1050-53 (9th Cir. 2006); Montero v. Meyer, 861 F.2d 603, 607-09 (10th Cir. 1988);

Delgado v. Smith, 861 F.2d 1489, 1492-93 (11th Cir. 1988). It then stated it was “unaware of any

court that has addressed whether a charter violates § 2 of [the Act] by allowing citizens, on an at

large basis, to subject the elected representatives of a single-member district to a recall election,

and Plaintiffs have failed to cite such a case.” McBride, 2011 WL 13249480, at *8.

       The court next considered a case decided by the Fifth Circuit, Smith v. Winter, 717 F.2d

191 (5th Cir.1983), which it concluded “has only suggested that ‘allegations of improper conduct

in the application of the recall process [would have to be liberally] construed to implicate rights

arising under [§] 2.’” McBride, 2011 WL 13249480, at *8. The Smith court, notably, “considered

the scope of the ‘right to vote’ within the meaning of [the Act] and concluded that it ‘stops short

of any absolute right to resist recall from office’”; rather, the “right[ ] to vote,” it held, “[is]

consummated and made effective in the election.” Id. at *9; Smith, 717 F.2d at 199. The McBride

court held that the plaintiffs’ claim failed because “this issue is unresolved, especially in the Fifth

Circuit.” McBride, 2011 WL 13249480, at *10.




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C.       Plaintiffs cannot plead or prove a claim for injunctive relief
         under the Voting Rights Act

         Plaintiffs ask this Court to enjoin the City “from conducting the recall election during the

November 2020 cycle while it considers this Complaint.” See Pls.’ Compl., ECF Doc. No. 1, p.

16, Prayer. That request is totally without merit and Plaintiffs offer absolutely no legal authority

in support of the Court granting such extraordinary relief. Id., passim.

         As in this case, the McBride plaintiffs sought preliminary injunctive relief; however, the

court denied that request, noting that injunctive relief is an extraordinary and drastic remedy, and

the movant has the burden, by a clear showing, to establish (1) a substantial likelihood of success

on the merits, (2) a substantial threat of irreparable injury, (3) that the threatened injury if the

injunction is denied outweighs any harm that will result if the injunction is granted, and (4) that

the grant of an injunction will not disserve the public interest. Id. at *5 (citing Janvey v. Alguire,

647 F.3d 585, 595 (5th Cir. 2011)).

         The court determined that the plaintiffs were unable to establish the first of the four bases

for awarding injunctive relief, i.e., a substantial likelihood of success on the merits, given the Smith

decision, which afforded no basis to apply the Voting Rights Act to recall procedures. McBride,

2011 WL 13249480, at *10; Smith, 717 F.2d at 199. The same logic applies here, as the Complaint

does not allege, and Plaintiffs therefore are unable to show, that they can establish a substantial

likelihood of success on the merits under the Act. See Pls.’ Compl., ECF Doc. No. 1, passim.11 As

the McBride court held in denying the plaintiffs’ requested injunctive relief based on that first

prong, “Plaintiffs have not cited, nor can the court find, any decision in which other plaintiffs have




11
  Here, Plaintiffs have failed to allege any of the requisite four prongs cited in McBride that arguably would entitle
them to injunctive relief.


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prevailed on arguments remotely similar to those asserted in the present case.” McBride, 2011 WL

13249480, at *10-13.

           Further, this is the second of two lawsuits brought in this Court in which Shemwell has

complained of alleged constitutional injuries arising from the same common nucleus of operative

facts – an election the City Council is required to hold under state law and the City Charter, based

on a citizen-initiated petition, for voters to determine whether he should be removed as, or remain,

a McKinney City Councilmember. The Complaint in the first suit was filed on January 20, 2020,

and voluntarily dismissed less than two months later, on March 13, 2020; Plaintiffs filed their

Complaint in this case on September 13, 2020. This Motion is filed on October 5, 2020, and the

recall election, originally scheduled this past May, is now scheduled for November 3, 2020, four

weeks from the date of this filing.12 At no time from January 20 of this year to the present date –

a period of more than eight months – has any Plaintiff requested and participated in an expedited,

evidentiary hearing on the issue of injunctive relief related to the recall election.

           It is well established in this and other Circuits that a substantial delay between pleading for

injunctive relief and actually seeking that relief can successfully rebut a plaintiff’s claim that

irreparable harm will result if the relief is not granted.

           [D]elay in seeking a remedy is an important factor bearing on the need for a
           preliminary injunction. Absent a good explanation, a substantial period of delay
           militates against the issuance of a preliminary injunction by demonstrating that
           there is no apparent urgency to the request for injunctive relief. Evidence of an
           undue delay in bringing suit may be sufficient to rebut the presumption of
           irreparable harm.
Gonannies, Inc. v. Goaupair, Inc., 464 F.Supp. 603, 609 (N.D. Tex. 2006) (citing Wireless Agents,

L.L.C. v. T–Mobile USA, Inc., 2006 WL 1540587, *3 (N.D. Tex. June 6, 2006) (Fitzwater, J.)

(internal citations and punctuation omitted)). The court in Gonannies denied the plaintiffs’ request


12
     Early voting in Texas begins October 13, 2020. https://www.votetexas.gov/mobile/voting/when.htm

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for relief, stating that the plaintiffs’ more than six-month, “undue delay would be sufficient to rebut

any possible presumption of irreparable harm. Id.; see also Tough Traveler, Ltd. v. Outbound

Prod., 60 F.3d 964, 968 (2d Cir.1995) (vacating preliminary injunction where movant waited four

months to seek a preliminary injunction after filing suit); Citibank, N.A. v. Citytrust, 756 F.2d 273,

276 (2d Cir.1985) (ten-week delay in seeking injunction for trademark infringement undercut

claim of irreparable harm); Boire v. Pilot Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th

Cir.1975) (affirming district court's denial of temporary injunctive relief where movant, among

other things, delayed three months in making its request). In short, equity aids the vigilant, not

those who sleep on their rights.

       Plaintiffs have failed to adequately plead both sufficient facts and legal authority to support

the granting of the relief they request. More than eight months have elapsed since the first suit was

brought and no one has affirmatively acted since then to obtain injunctive relief; and, early voting

for the November 3, 2020 election opens in one week. Plaintiffs’ Complaint fails to state a claim

for relief under § 2 of the Voting Rights Act, including injunctive relief, and the City’s Motion,

therefore, should be granted.

D.     Plaintiffs should not be permitted to amend or replead their Complaint

       The Court, in granting this Motion, has the discretion to allow Plaintiffs to attempt to

replead a viable cause of action. For the reasons stated above, the City urges the Court that it not

permit Plaintiffs to amend their Complaint. If, however, the Court does not grant this Motion in its

entirety, the City respectfully requests additional time to file an answer responsive to any

remaining counts in Plaintiffs’ Complaint.




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                                VII.    REQUEST FOR RELIEF

       For the reasons stated above, Defendant City of McKinney, Texas, respectfully requests

that the Court grant this Motion, dismissing all of Plaintiffs’ claims against it based on the pleading

deficiencies of the Complaint and Plaintiffs’ failure to cite any authority in support of those claims,

as well as pertinent Fifth Circuit precedent that expressly rejects Plaintiffs’ claims under the Voting

Rights Act. The City also prays for any additional relief, general or special, at law or in equity, to

which it may show itself to be justly entitled.

                                                       Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of October, 2020, I electronically filed the foregoing
document with the Clerk of the Court for the Eastern District of Texas, Sherman Division, using
the CM/ECF system, which will send notification of such filing to all counsel who have registered
with the Court.

                                                     /s/ Kent S. Hofmeister
                                                     Kent S. Hofmeister




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